Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 1 of 29 PageID #: 9440




                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF DELAWARE



IN RE CLASS 8 TRANSMISSION   )
INDIRECT PURCHASER ANTITRUST )                  Civ. No. 11-00009-SLR
LITIGATION                   )




Ian Connor Bifferato, Esquire and Thomas Francis Driscoll, Ill, Esquire of Bifferato LLC,
Wilmington, Delaware. Counsel for Plaintiffs. Of Counsel: Lee Albert, Esquire and
Gregory B. Linkh, Esquire of Glancy Binkow & Goldberg LLP, Joseph R. Gunderson,
Esquire, Barbara C. Frankland, Esquire, Rex A. Sharp, Esquire and David E. Sharp,
Esquire of Gunderson, Sharp LLP, Jason S. Hartley, Esquire and Jason M. Lindner,
Esquire of Stueve, Siegel and Hanson LLP, Brian Penny, Esquire and Douglas Bench
Jr., Esquire of Goldman Scarlato & Penny LLP.

Donald E. Reid, Esquire of Morris Nichols, Arsht & Tunnell, Wilmington, Delaware.
Counsel for Defendant Eaton Corporation. Of Counsel: Joseph A. Ostoyich, Esquire,
Erik T. Koons, Esquire, Julie B. Rubenstein, Esquire and William C. Lavery, Esquire of
Baker Botts, LLP.

Richard L. Horwitz, Esquire and John A. Sensing, Esquire of Potter, Anderson &
Corroon, LLP, Wilmington, Delaware. Counsel for Defendants Daimler Trucks North
America LLC (f/k/a Freightliner LLC). Of Counsel: J. Robert Robertson, Esquire,
Benjamin F. Holt, Esquire, Justin W. Bernick, Esquire, and Meghan C. E. F. Rissmiller,
Esquire of Hogan Lovells US LLP and Corey W. Roush, Esquire of Akin Gump Strauss
Hauer & Feld LLP.

Kelly E. Farnan, Esquire and Lisa A. Schmidt, Esquire of Richards, Layton & Finger,
PA, Wilmington, Delaware and Jeffrey B. Bove, Esquire of Novak Druce Connolly Bove
Quigg LLP, Wilmington, Delaware. Counsel for Defendant Navistar International
Corporation (f/k/a International Truck and Engine Corporation). Of Counsel: Daniel E.
Laytin, Esquire, James H. Mutchnik, Esquire, and Brian Borchard, Esquire of Kirkland &
Ellis, LLP.

Jeffrey B. Bove, Esquire of Novak Druce Connolly Bove Quigg LLP, Wilmington,
Delaware. Counsel for Defendants Kenworth Truck Company, Paccar Inc., and
Peterbilt Motors Company. Of Counsel: Catherine S. Simonsen, Esquire, Cori G.
Moore, Esquire, Eric J. Weiss, Esquire, and Thomas L. Soeder, Esquire of Perkins Coie
LLC.
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 2 of 29 PageID #: 9441




M. Duncan Grant, Esquire and James Harry Stone Levine, Esquire of Pepper Hamilton
LLP, Wilmington, Delaware. Counsel for Defendants Mack Trucks Inc. and Volvo
Trucks North America. Of Counsel: Daniel J. Boland, Esquire, Jeremy Heep, Esquire
and Michael Hartman, Esquire of Pepper Hamilton LLP.




                            MEMORANDUM OPINION




Dated: October J-1 , 2015
Wilmington, Delaware
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 3 of 29 PageID #: 9442




I. INTRODUCTION

       Presently before the court is indirect purchaser plaintiffs' 1 ("plaintiffs") motion for

class certification pursuant to Fed. R. Civ. P. 23(a), 23(b)(2) and 23(b)(3). (D.I. 184)

Also before the court is plaintiffs' motion to substitute various parties as class

representatives. (D. I. 180) Defendants to this action include Eaton Corporation

("Eaton"), Daimler Trucks North America LLC ("Daimler Trucks"), Freightliner LLC

"Frightliner''), Navistar International Corporation ("Navistar''), International Truck and

Engine Corporation ("International"), Paccar, Inc. ("Paccar''), Kenworth Truck Company

("Kenworth"), Peterbilt Motors Company ("Peterbilt"), Volvo Trucks North America

("Volvo"), and Mack Trucks, Inc. ("Mack") (collectively, "defendants").

       Plaintiffs assert that defendants engaged in anticompetitive conduct. (D.I. 34 at

ml 1-2)   Specifically, defendants allege Eaton entered into exclusive dealing

agreements with the Original Equipment Manufacturers ("OEMs") (Daimler Trucks,

Freightliner, Navistar, International, PAACAR, Kenworth, Peterbilt, Volvo and Mack) of

Class 8 trucks to maintain or enhance their monopoly power in the market for




1 The indirect purchaser plaintiffs or the "proposed IPP class" include Ryan Avenarius
(representing the Iowa State Class); Big Gain Inc. (representing the Minnesota State
Class); Carleton Transport Service (representing the Nebraska State Class); James
Cordes on behalf of Cordes Inc. (representing the Michigan State Class); Meunier
Enterprises LLC, individually and as parent company of Auto Transport Leasing, Inc.
and Exotic Car Transport, Inc. (representing the Florida and North Carolina State
Classes); Paul Prosper on behalf of Prosper Trucking Inc. (representing the Vermont
State Class); Rodney E. Jaeger (representing the Wisconsin State Class); and Purdy
Brothers Trucking Co.(representing the Tennessee State Class).
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 4 of 29 PageID #: 9443




transmissions used the Class 8 trucks. (Id.) Both direct2 and indirect purchaser

plaintiffs allege that such anticompetitive conduct resulted in the elimination of Eaton's

biggest competitor ZF Meritor. (Id.) The court has jurisdiction pursuant to 15 U.S.C. §

15 and 28 U.S.C. §§ 1331 and 1337.

II. BACKGROUND

       A. The Parties

       Plaintiffs purchased Class 8 trucks from one or more of defendants' authorized

sales agents or dealers and, therefore, are indirect purchasers of Class 8 transmissions.

(D.I. 34 at mf 9-12) Plaintiffs assert violations of 20 state antitrust laws and 2 state

unfair competition laws in a total of 21 different states.

       Defendants are involved in the manufacture and sale of Class 8 trucks. Eaton

manufactures transmissions for Class 8 trucks. (Id. at 1l 13) The OEM defendants

manufacture and sell Class 8 trucks. (Id. at mf 14-21) In order to assemble and sell

Class 8 trucks, OEMs purchase component parts, such as transmissions, from

suppliers, such as Eaton. (Id. at 1l 27)

       B. Class 8 Trucks and Transmissions

       There are eight recognized classes of vehicles, with Class 8 trucks being the

heaviest. (Id. at 1l 25) Examples of Class 8 heavy duty trucks include fire trucks,

garbage trucks, and long-distance freighters. (Id. at 1l 26) The purchase of Class 8

trucks is unique in the sense that buyers can essentially build a truck to their desired




2Direct purchaser plaintiffs have since been dismissed for lack of standing. (Civ. No.
10-260, D.I. 393 at 6, D.I. 394). The issue of standing as related to the indirect
purchaser plaintiffs as a whole has not been reasserted since the court denied
defendants' motion to dismiss with respect to plaintiffs' state antitrust claims. (D.I. 60)
                                               2
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 5 of 29 PageID #: 9444




specifications. (Id. at ~ 27) When purchasing a Class 8 truck, buyers can consult OEM

"databooks,'' which list an OEM's standard and non-standard component offerings, 3 and

designate the specific components they desire in their trucks. (Id.) Since

manufacturers of component parts in the Class 8 truck industry market products directly

to potential customers, it is not uncommon for buyers to select non-standard options

from a databook. (Id.)

       C. Plaintiffs' Allegations

       Plaintiffs contend that Eaton has been the dominant and most widely recognized

American manufacturer of Class 8 transmissions, holding a near monopoly in the

market since the 1950s. (Id.    at~~   28, 42-45) In the 1990s, ZF Meritor established itself

as a viable competitor to Eaton, producing desirable, competitive and innovative

transmissions. (Id.   at~~   28-29, 51-61) In response to this competition from ZF Meritor

and a significant downturn in the Class 8 truck market which occurred in late 1999-early

2000, plaintiffs allege that Eaton and the OEMs conspired to put ZF Meritor out of

business, thereby expanding Eaton's monopoly and permitting all defendants to share

in the profits resulting from this monopoly. (Id.   at~   62)

       This conspiracy was allegedly achieved by Eaton entering into Long Term

Agreements ("LTAs") in the early 2000s with each of the four OEMs. 4 (Id. at W 62-68).

While each Eaton-OEM LT A was separately negotiated and thus distinct, the LTAs



3A databook is a term of art used in the trucking industry. It represents the truck broken
down to its core components and provides customers with standard and nonstandard
component options. (D.I. 25 at W 4, 41) A transmission is an example of a component
part that exists in a databook. (Id.)

4A series of mergers in the mid-1990's reduced to four the number of OEMs purchasing
Class 8 transmissions. (D.I. 25 at~ 51)
                                                3
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 6 of 29 PageID #: 9445




shared a similar purpose and features. (Id. at ml 74-112) Each LTA contained a

provision whereby the OEMs would receive sizable and lucrative rebates from Eaton

assuming the OEMs utilized a certain percentage of Eaton transmissions annually. (Id.)

For example, under the Freightliner-Eaton LTA, Freightliner was required to purchase

92% of its Class 8 transmission needs from Eaton in order to receive the specified

rebates. (Id. at ~ 77) Aside from tying percentage requirements to rebates, the LTAs

included other provisions designed to minimize ZF Meritor's market share. Examples of

these provisions included eliminating ZF Meritor transmissions from databooks or

removing them from the standard position, refusing to provide warranties on trucks with

ZF Meritor transmissions, overcharging for ZF Meritor transmissions, and refusing to

provide financing on vehicles with ZF Meritor transmissions. (Id.      at~~   74-113) In

essence, plaintiffs argue that the LTAs were defacto exclusive dealing contracts and the

OEMs all agreed with each other to enter into these agreements in order to eliminate ZF

Meritor and share in the profits of Eaton's monopoly. (Id.     at~~   62; 66) In the end,

plaintiffs allege that defendants' conspiracy was successful as the LTAs greatly

diminished ZF Meritor's market share in the Class 8 transmission field and left it no

opportunity for growth. (Id. at ml 115-117) In the face of these economic realities, ZF

Meritor's market share declined to an insignificant level. (Id.) Plaintiffs ultimately

contend that they had to pay higher prices for transmissions and, in turn, for Class 8

trucks, as a result of defendants' actions; they also assert that "they had less choice and

suffered from a decrease in innovation." (Id.     at~~   4; 114)

Ill. STANDARD




                                              4
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 7 of 29 PageID #: 9446




       A district court has broad discretion to grant or deny class certification. See

Eisenberg v. Gagnon, 766 F.2d 770, 785 (3d Cir. 1985). The court does not inquire into

the merits of a lawsuit when determining whether it may be maintained as a class

action. See Eisen v. Carlisle and Jacquelin, 417 U.S. 156, 177 (1974). However, the

court must conduct a limited preliminary inquiry, examining beyond the pleadings, to

determine whether common evidence could suffice to make out a prima facie case for

the class. See General Tel. Co. of Southwest v. Falcon, 457 U.S. 147, 160 (1982)

("[T]he class determination generally involves considerations that are enmeshed in the

factual and legal issues comprising the plaintiff's cause of action.") (internal citation

omitted); Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F .3d 154, 167 (3d

Cir. 2001) ("[C]ourts may delve beyond the pleadings to determine whether the

requirements for class certification are satisfied.").

       The party seeking class certification bears the burden of establishing that

certification is warranted under the circumstances. Carrera v. Bayer Corp., 727 F.3d

300, 306 (3d Cir. 2013). Rule 23 of the Federal Rules of Civil Procedure sets forth the

requirements for certification of a class. Under Rule 23(a), these requirements are: (1)

the class is so numerous that joinder of all members is impracticable ("numerosity"); (2)

there are questions of law or fact common to the class ("commonality"); (3) the claims or

defenses of the representative parties are typical of the claims or defenses of the class

("typicality"); and (4) the representative parties will fairly and adequately protect the

interests of the class. See In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 527 (3d

Cir. 2004). Plaintiffs bear the burden to "establish that all four requisites of Rule 23(a)




                                               5
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 8 of 29 PageID #: 9447




and at least one part of Rule 23(b) are met." Baby Neal v. Casey, 43 F.3d 48, 55 (3d

Cir. 1994).

       Under Rule 23(b)(3}, two additional requirements must be met for a class to be

certified: (a) common questions must predominate over any questions affecting only

individual members; and (b) class resolution must be superior to other available

methods for the fair and efficient adjudication of the controversy. Amchem Prods., Inc.

v. Windsor, 521 U.S. 591, 613 (1997). Relevant to this inquiry are the following factors:

(a) the interest of members of the class individually controlling the prosecution or

defense of separate actions; (b) the extent and nature of any litigation concerning the

controversy already commenced by or against members of the class; (c) the desirability

or undesirability of concentrating litigation of the claims in the particular forum; (d) the

difficulties likely to be encountered in the management of the class action. Id. at 615-

16. The Supreme Court has noted that the dominant purpose behind certifying Rule

23(b)(3) cases is to vindicate the rights of people who individually would be without the

strength to bring their opponents into court; it overcomes the problem of small

recoveries, which do not provide enough incentive for individual actions to be

prosecuted. Id. at 617.

IV. DISCUSSION

       The proposed IPP state classes are as follows:

       All persons or entities, in the state of [California, Florida, Kansas, Iowa,
       Michigan, Minnesota, Nebraska, North Carolina, Tennessee, Vermont,
       Wisconsin], that indirectly purchased from Defendants new Class 8 Heavy
       Duty trucks containing Eaton transmissions, beginning October 1 , 2002 and
       continuing until the present ("Class Period"). Excluded from this class are:
       (i) Defendants and their parent companies, subsidiaries, affiliates, officers,
       directors, employees, legal representatives, heirs, assigns, and co-
       conspirators; and (ii) any judges presiding over this action and the members


                                               6
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 9 of 29 PageID #: 9448




       of his/her immediate family and judicial staff, and any juror assigned to this
       action.

(D.I. 184 at 1-3) Plaintiffs assert the following claims: 1) violation of 20 state antitrust

laws (for the following states: Arizona, California, District of Columbia, Iowa, Kansas,

Maine, Michigan, Minnesota, Nebraska, Nevada, New Hampshire, New Mexico, New

York, North Carolina, North Dakota, South Dakota, Tennessee, Vermont, West Virginia

and Wisconsin); and 2) violation of two state unfair competition laws (for the following

states: Florida and New Hampshire). (D.I. 68 at mJ 168-277) Plaintiffs move for

certification pursuant to Fed. R. Civ. P. 23(a) and (b)(3). (D.I. 184)

       A. Numerosity

       To be certified, the class must be "so numerous that joinder of all members is

impracticable." Fed. R. Civ. P. 23(a)(1 ). "No minimum number of plaintiffs is required to

maintain a suit as a class action, but generally if the named plaintiff demonstrates that

the potential number of plaintiffs exceeds 40, the first prong of Rule 23(a) has been

met." Stewart v. Abraham, 275 F.3d 220, 227-28 (3d Cir. 2001 ). Plaintiffs argue that

the number of relevant Class 8 truck sales during the proposed class period numbers in

the thousands to tens of thousands and joinder, therefore, is impracticable. (D.I. 185 at

15). Dr. Russell Lamb ("Dr. Lamb"), plaintiffs' proffered expert, provided a range of

relevant Class 8 truck sales per state between 1,572 and 41,307. (D.I. 187       at~   18)

Defendants do not dispute that the numerosity requirement is satisfied. The court notes

that once all potential class members are identified, the class will be so numerous as to

make joinder impracticable. Accordingly, the proposed IPP class satisfies the

numerosity requirement.

       B. Commonality


                                               7
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 10 of 29 PageID #: 9449




       Commonality requires that class members share a single common issue of law or

fact. See Baby Neal, 43 F.3d at 56. The proposed IPP class alleges a common course

of conduct which, it contends, had a general effect on the market in that defendants'

conduct artificially raised the price of Class 8 transmissions and decreased innovation.

Specifically, plaintiffs assert that at least eight questions of law or fact are common to

the proposed IPP class: (1) whether defendants engaged in a contract, combination, or

conspiracy to restrain trade in, exclude competition in, or monopolize the relevant

market for Class 8 truck transmissions; (2) whether defendants conspired to

unreasonably restrain trade and maintain prices for Class 8 truck transmissions sold in

the United States, and the indirect purchaser state submarkets, at supra-competitive

levels by foreclosing the market for Class 8 truck transmissions in the United States and

in the states at issue; (3) the existence and duration of the illegal conduct alleged

herein; (4) whether defendants concealed their unlawful activities; (5) whether

defendants' anticompetitive conduct resulted in diminished competition for Class 8 truck

transmissions in the United States and in the states at issue; (6) whether defendants'

anticompetitive conduct caused prices for Class 8 truck transmissions to be higher than

they would have been in the absence of defendants' conduct; (7) whether members of

the proposed IPP class were injured by defendants' conduct and, if so, the appropriate

classwide measure of damages; and (8) whether defendants' conduct violated the

antitrust and unfair competition laws of the indirect purchaser states. (D.I. 185 at 17-18)

Defendants do not dispute that the commonality prong is satisfied. The proposed IPP

class has demonstrated the commonality requirement because these questions

generally focus on defendants' conduct and, as such, are common to all members of



                                              8
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 11 of 29 PageID #: 9450




the class. See In re Warfarin, 391 F.3d at 529 (stating that allegations for a violation of

§ 2 of the Sherman Act "naturally raise several questions of law and fact common to the

entire class"); In re Linerboard Antitrust Litigation, 305 F.3d 145, 151-52 (3d Cir. 2002)

(finding that, when the inquiry focuses on defendants' actions, a conspiracy claim

pursuant to § 1 of the Sherman Act involves common issues of fact and law).

       C. Typicality

       Typicality requires that "the claims ... of the representative parties are typical of

the claims ... of the class," not that the claims are identical. See Fed. R. Civ. P.

23(a)(3); see also In re Warfarin, 391 F.3d at 531-32. "The typicality inquiry centers on

whether the interests of the named plaintiffs align with the interests of the absent

members." Stewart, 275 F.3d at 227-28. More specifically, "[f]actual differences will not

render a claim atypical if the claim arises from the same event or practice or course of

conduct that gives rise to the claims of the [absent] class members, and if it is based on

the same legal theory." Id. (alteration in original) (citing Hoxworth v. Blinder, Robinson

& Co., Inc., 980 F.2d 912, 923 (3d Cir. 1992)). The proposed IPP class contends that

typicality is satisfied because "claims of the representatives of the proposed [s]tate

[c]lasses are based on the same conduct by [d]efendants and substantially similar legal

theories." (D.I. 185 at 23-24) Generally, plaintiffs argue the same legal theory applies

across the state classes because all proposed IPP class members allege defendants

conspired or contracted to reduce competition in the Class 8 transmission market.

Defendants submit that typicality is not met because plaintiffs are not large fleet or

leasing company purchasers. (D.I. 233 at 28) Rather, defendants assert that as

indirect purchasers, plaintiffs purchased trucks through intermediary dealers and did not



                                             9
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 12 of 29 PageID #: 9451




negotiate with OEMs and component suppliers or enter into any long-term purchase

contracts. (Id. at 28-29) Defendants additionally assert that absent subclass members

"negotiate[d] deals in a different competitive landscape than individual customers." (Id.

at 29 (citing In re Intel Corp. Microprocessor Antitrust Litig., Civ. No. 05-485-LPS, 2014

WL 6601941, at *12 (D. Del. Aug. 6, 2014)) The court disagrees with defendants'

assertions as related to the typicality requirement. Regardless of plaintiffs' status as

indirect purchasers, typicality is met because recovery necessitates proof of defendants'

collusive conduct resulting in artificially high prices for Class 8 transmissions. As

discussed above, plaintiffs' claims arise out of the same course of alleged conduct that,

if true, would have similarly injured each of them by artificially raising the price of Class

8 transmissions. Thus, any claims from absent class members will also arise out of the

same course of conduct and alleged overpayment. See Jn re Warfarin, 391 F.3d at 531-

32. Typicality, therefore, is satisfied.

       D. Adequacy

       Rule 23(a) also requires that the representative class members "fairly and

adequately protect the interests of the class." See Fed. R. Civ. P. 23(a)(4). This inquiry

"has two components designed to ensure that absentees' interests are fully pursued."

See In re Warfarin, 391 F.3d at 532 (citing Georgine v. Amchem Prods., Inc., 83 F.3d

610, 630 (3d Cir. 1996), aff'd, Amchem, 521 U.S. at 591. "First, the adequacy inquiry

'tests the qualifications of the counsel to represent the class.' " Id. (quoting Jn re

Prudential Ins. Co. America Sales Practice Litig. Agent Actions, 148 F.3d 283, 313 (3d

Cir. 1998)). "Second, it seeks 'to uncover conflicts of interest between named parties

and the class they seek to represent."' Id. (quoting Prudential, 148 F.3d at 313).



                                              10
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 13 of 29 PageID #: 9452




              1. Qualifications of counsel

       Counsel for the proposed IPP class have submitted firm resumes demonstrating

that counsel possess the competence, skill, and experience necessary to prosecute the

class' claims. (D.I. 186, exs. 46-47); See Jerry Enterprises of Gloucester County, Inc. v.

Allied Beverage Group, L.L.C., 178 F.R.D. 437, 446 (D.N.J. 1998). The resumes

demonstrate that counsel have participated in several class action antitrust suits,

including representing indirect purchasers alleging overcharges as a result of price-

fixing and market allocation conspiracy. (See id.) Plaintiffs have sufficiently

demonstrated this requirement.

              2. Absence of conflict

       The proffered representatives are indirect purchasers of Class 8 truck

transmissions from one or more of defendants' authorized sales agents/dealers. (D.I.

68 at 1f1f 9-18) Plaintiffs argue that the members of the proposed IPP class do not have

any interests antagonistic to those of the other class members, as all share a strong

interest in proving defendants' liability. (D.I. 185 at 25-26) That is, each class

representative has the same interest as each class member in proving their claims.

Additionally, plaintiffs assert that each class member has been adversely impacted by

defendants' conspiracy because their ability to purchase Class 8 transmissions has

been restricted by defendants' conduct. As a result of that conduct, plaintiffs assert they

have paid artificially inflated prices for Class 8 transmissions. (Id. at 26) Defendants

challenge the adequacy of the proffered representatives, arguing that fundamental intra-

class conflicts exist and that plaintiffs lack understanding of their claims and duties as

class representatives. (D. I. 233 at 30-32)



                                              11
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 14 of 29 PageID #: 9453




       At the outset, the court notes plaintiffs' request to withdraw and substitute two

new parties as class representatives filed on the same day as the instant motion for

class certification. 5 (D.I. 180) Apparently, California class representative Premier

Produce Co., Inc. "is no longer able to participate in this action," and Kansas class

representative Joseph Williams is no longer a class member as the proposed class is

now defined. (Id.) This lawsuit was initially filed on October 4, 2010. (D.I. 1) It is,

therefore, four years into the course of this litigation that plaintiffs request to remove

class representatives and substitute new parties. 6 On the very same day plaintiffs

requested removal and substitution of several class representatives, plaintiffs also

asserted that their proffered representatives would adequately represent the class. The

parties additionally dispute whether the representatives of the Michigan and Vermont

subclasses have standing. (D.I. 233 at 34-36; D.I. 239 at 19) Given the potential

upheaval in class representation at this stage of the litigation, the court is unable to find

that the proffered class representatives or their proposed substitutions can "fairly and

adequately protect the interests of the class." See Fed. R. Civ. P. 23(a)(4). Plaintiffs

have had over four years to proffer adequate class representatives that can represent




5The court additionally notes that plaintiffs' request was filed more than ten months
after the court's deadline of January 1, 2014 to add or amend parties. This deadline
was set in the original scheduling order filed on February 7, 2013 in the related case,
Wallach v. Eaton, Corp., Civ. No. 10-260, D.I. 99at1f 3, and here on March 12, 2013.
(D.I. 88)

6  Over the course of this four-year-old litigation, the parties briefed a motion to dismiss,
completed extensive fact discovery, and the parties' class certification economists
drafted expert reports and were subsequently deposed. At the time this motion was
filed, defendants had "already taken nine depositions, with at least five more scheduled,
and produced over 24,000 documents." (D.I. 204 at 4)
                                              12
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 15 of 29 PageID #: 9454




the interests of both present and absent class members without conflict.7 Based on the

foregoing, the court concludes that, while counsel is adequately qualified to represent

the class, plaintiffs have not demonstrated that the adequacy requirement is satisfied

with respect to class representatives.

       E. Predominance

      The court recognizes that the predominance requirement has been characterized

as "readily met" in cases alleging violations of the antitrust laws. 8 Amchem, 521 U.S. at

625. However, the Supreme Court has acknowledged in this regard that questions of

individual damages can "overwhelm questions common to the class." Comcast Corp. v.

Behrend, - U.S. -, 133 S. Ct. 1426, 1433 (2013). Additionally, the Supreme Court has

noted that Rule 23(b )(3) is an '"adventuresome innovation' of the 1966 amendments,



7
  Moreover, there appears to be fundamental conflict defeating certification as the class
includes parties who claim to have been harmed by the same conduct that benefitted
other members of the class. (0.1. 233 at 31-32); In re Intel, 2014 WL 6601941, at *12
(citing In re Photochromic Lens Antitrust Litig., Civ. No. 8:10-CV-00984-T-27EA, 2014
WL 1338605 at *10 (M.O. Fla. April 3, 2014)). First, the truck resellers within the class
have an interest in proving that they passed-through zero overcharge in order to recover
100% of the damages attributed to each resale, while the downstream purchasers have
an opposite interest. Second, the rebates, as discussed in the pass-through analysis
below, were not applied uniformly to the class. Instead, it appears that large fleet and
leasing companies may have "received a disproportionate share of rebates such that
they offset the alleged overcharge." As result, these class members were not injured by
the alleged anti-competitive conduct. (Civ. No. 10-260, 0.1. 299, ex. 1 at~ 93)

8 The Third Circuit has also recognized that monopolization and conspiracy claims
involve predominantly common issues. See In re Warfarin, 391 F.3d at 528 (stating that
allegations for violations of § 2 of the Sherman Act "naturally raise several questions of
law and fact common to the entire class and which predominate over any issues related
to individual class members, including the unlawfulness of [Eaton's] conduct under
federal antitrust laws as well as state law, the causal linkage between [Eaton's] conduct
and the injury suffered by the class members, and the nature of the relief to which class
members are entitled."; In re Linerboard, 305 F.3d at 152 (finding violation of Sherman
Act's § 1 conspiracy claim would predominantly involve common issues of fact and law,
where the inquiry focused on defendants' actions, not individual class members).
                                            13
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 16 of 29 PageID #: 9455




framed for situations 'in which class-action treatment is not as clearly called for.'" Wal-

Mart Stores, Inc. v. Dukes, - U.S.-, 131 S. Ct. 2541, 2558 (2011) (quoting Amchem,

521 U.S. at 625 (citing advisory committee's notes, 28 U.S.C. app., at 697 (1994 ed.))).

       Rule 23(b)(3)'s predominance element requires that common issues predominate

over issues affecting only individuals, and tests whether proposed classes are

sufficiently cohesive to warrant adjudication by representation. See Amchem, 521 U.S.

at 623; In re Warfarin, 391 F.3d at 527. Significantly, the predominance requirement "is

far more demanding" than the commonality requirement of Rule 23(a), which it

incorporates. In re Warfarin, 391 F.3d at 527. Although common issues must

predominate over individual inquiries, the existence of an individual inquiry does not

preclude class certification, especially where all members face the necessity of proving

the same fraudulent scheme. See In re Community Bank of Northern Virginia, 418 F.3d

277, 306 (3d Cir. 2005) (discussing Amchem, 521 U.S. at 625). Similarly, individualized

damages calculations do not defeat a Rule 23(b)(3) certification if the predominance

requirement is otherwise met. Id. at 305-06; Chiang v. Veneman, 385 F.3d 256, 273

(3d Cir. 2004 ).

       "The essential inquiry for predominance is whether the proposed class is

'sufficiently cohesive to warrant adjudication by representation."' In re Intel, 2014 WL

6601941, at *13 (citing Amgen Inc. v. Connecticut Ref. Plans & Trust Funds, - U.S.

-, 133 S. Ct. 1184, 1196 (2013)). The Third Circuit has further instructed that "[c]lass

certification is proper only 'if the trial court is satisfied, after a rigorous analysis, that the

prerequisites' of Rule 23 are met." In re Hydrogen Peroxide Antitrust Litigation, 552

F.3d 305, 309 (3d Cir. 2008) (quoting Gen. Tel. Co. of the S.W. v. Falcon, 457 U.S. 147,



                                                14
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 17 of 29 PageID #: 9456




161 (1982)). Additionally, "actual, not presumed, conformance with Rule 23

requirements is essential." Marcus v. BMW of North America, LLC, 687 F.3d 583, 591

(3d Cir. 2012). "Expert opinion with respect to class certification, like any matter

relevant to a Rule 23 requirement" compels rigorous analysis. Hydrogen Peroxide, 552

F.3d at 323. "Weighing conflicting expert testimony at the certification stage is not only

permissible; it may be integral to the rigorous analysis Rule 23 demands." Id.

       Generally, plaintiffs contend that the common issues regarding the proposed IPP

class' allegations of a conspiracy predominate over the possibility of individualized

damages. (D.I. 233 at 28) Specifically, plaintiffs' assertion of common issues that

predominate this action include: (1) whether defendants engaged in a conspiracy to fix,

raise, stabilize, and maintain the prices of Class 8 transmissions; (2) whether

defendants monopolized or engaged in a conspiracy to monopolize trade and

commerce in the market for Class 8 transmissions sold to consumers in the United

States; and (3) whether defendants' conduct caused the prices of Class 8 transmissions

to be maintained at higher levels than would exist in a competitive market. (D.I. 185 at

28) Defendants argue that plaintiffs have failed to meet their burden; specifically, that

plaintiffs are unable to show through common proof that direct purchasers paid an

overcharge. Defendants also contend that proof of pass-through requires an

individualized, transaction-by-transaction, reseller-by-reseller analysis, and that litigation

as a class action is unmanageable due to state law variances. (D. I. 233 at 14, 25)

       The Third Circuit has pointed out that in antitrust cases, the element of "impact

often is critically important for the purpose of evaluation of Rule 23(b )(3)'s

predominance requirement because it is an element of the claim that may call for



                                              15
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 18 of 29 PageID #: 9457




individual, as opposed to common proof." In re Intel, 2014 WL 6601941, at *13 (citing

Hydrogen Peroxide, 552 F.3d at 311 ). While plaintiffs need not prove common impact

at the class certification stage, they must at least

       demonstrate that the element of antitrust impact is capable of proof at trial
       through evidence that is common to the class rather than individual to its
       members. Deciding this issue calls for the district court's rigorous
       assessment of the available evidence and the method or methods by
       which plaintiffs propose to use the evidence to prove impact at trial.

Id.

       At this stage, the court does not question plaintiffs' proposition that defendants'

anticompetitive conduct "could, in theory, impact the entire class despite a [resultant]

decrease in prices for some customers in parts of the class period, and despite some

divergence in the prices different plaintiffs paid." Hydrogen Peroxide, 552 F.3d at 325.

However, "the question at [the] class certification stage is whether, if such impact is

plausible in theory, it is also susceptible to proof at trial through available evidence

common to the class." Id. The threshold issue of predominance, then, is whether

plaintiffs have established common proof to show that all or nearly all class members

suffered antitrust injury, and that any benefits received by certain purchasers as a result

of defendants' anticompetitive payments are exceeded by the overcharges imposed that

were subsequently passed on to end purchasers. Id. Based on the record before it and

as discussed below, plaintiffs have failed to meet this common evidence burden.

              1. Overcharge analysis

       Both parties agree that class certification requires plaintiffs to demonstrate the

ability to show through common proof that (1) Eaton assessed an overcharge on all of

its transmission sales to all of the OEMs; (2) each of the OEMs passed on the alleged



                                              16
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 19 of 29 PageID #: 9458




overcharge to substantially all of its direct purchasers; and (3) each of the many

hundreds of direct purchasers passed on part of that alleged overcharge to substantially

all of the thousands of indirect purchasers. (D.I. 233 at 14) Generally, plaintiffs rely on

Dr. Lamb's expert report and testimony in support of the overcharge propositions as

related to the direct purchasers. Defendants ask the court to deny class certification

because "both direct plaintiffs and Dr. Lamb can show neither antitrust impact nor

damages with proof common to the putative class of 'direct' purchasers." (Id.)

       As noted above, class certification requires plaintiffs to establish that reliable,

common evidence can be used to prove that all or nearly all of the proposed class

members paid a higher price than they would have absent the alleged conspiracy.

Hydrogen Peroxide, 552 F.3d at 311. While plaintiffs need not prove antitrust impact at

the class certification stage, plaintiffs must show that "impact is capable of proof at trial

through evidence that is common to the class rather than individual to its members." Id.

at311-12.

       Here, however, plaintiffs' status as indirect purchasers must be taken into

account. Eaton did not sell any transmissions directly to any of the plaintiffs. Rather,

Eaton sold the transmissions to OEMs who then included the transmissions in Class 8

trucks purchased from defendants' authorized sales agents or dealers. Similar to In re

Intel, this case is distinguishable from price-fixing class actions involving alleged

overcharges to direct purchasers. In re Intel, 2014 WL 6601941, at *14. Plaintiffs at bar

must show that they can prove, through common evidence, that Eaton not only

overcharged its OEM customers, but that overcharges were then passed from the

OEMs to direct purchasers and eventually to plaintiffs as indirect purchasers. An



                                              17
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 20 of 29 PageID #: 9459




additional distinction between the instant case and a majority of price-fixing cases is that

the "challenged 'conduct is a price reduction" that benefitted members of the class. In

re Intel, 2014 WL 6601941, at *14 (emphasis in original) (citing In re Photochromic

Lens, 2014 WL 1338605 at *11) ("[A] class cannot be certified when some members of

the class benefitted from the alleged wrongful conduct.").

       Notably, the Supreme Court in Illinois Brick Co. v. Illinois, 431 U.S. 720, 735

(1977), "established the general rule that only direct purchasers from antitrust violators

may recover damages in antitrust suits." Howard Hess Dental Labs. Inc. v. Dentsply

Int'/, Inc., 424 F.3d 363, 369 (3d Cir. 2005). Indirect purchasers are generally not

entitled to recover damages for passed-on overcharges. Id. (emphasis added) This is

referred to as the "indirect purchaser rule." Three policy reasons justified the Supreme

Court's decision to impose this rule:

       (1) a risk of duplicative liability for defendants and potentially inconsistent
       adjudications could arise if courts permitted both direct and indirect
       purchasers to sue defendants for the same overcharge; (2) the evidentiary
       complexities and uncertainties involved in ascertaining the portion of the
       overcharge that the direct purchasers had passed on to the various levels
       of indirect purchasers would place too great a burden on the courts; and
       (3) permitting direct and indirect purchasers to sue only for the amount of
       the overcharge they themselves absorbed and did not pass on would
       cause inefficient enforcement of the antitrust laws by diluting the ultimate
       recovery and thus decreasing the direct purchasers' incentive to sue.


Id. at 369-70 (citing Illinois Brick, 431 U.S. at 730-35). The threshold issue necessary to

predominance, therefore, turns on whether plaintiffs have proffered sufficient common

evidence to prove that Eaton overcharged its direct purchasers.

                     a. Dr. Lamb's analysis

       Dr. Lamb calculated a damages model "using a 'benchmark' model, whereby he

determine[d] prices that would have prevailed in a world free of alleged misconduct,

                                             18
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 21 of 29 PageID #: 9460




called 'but for' prices." (D.I. 185 at 30) According to this report, "Dr. Lamb calculated

that 94.2% of the overcharges were passed from direct purchasers to indirect

purchasers." (Id. at 31) Dr. Lamb arrived at this conclusion following three separate

regressions and a "yardstick approach" to account for the lack of benchmarks in the

performance transmission market. (Id.; Civ. No. 10-260, D. I. 397 at 71) Specifically, Dr.

Lamb calculated the alleged overcharge on Eaton Class 8 linehaul transmissions to the

OEMs (direct purchasers). 9 From this regression, he concluded that during the class

period, "prices for Eaton Class 8 Linehaul transmissions were not fully explained by

market forces ... Thus, common evidence is available to show that the alleged

misconduct inflated Eaton Class 8 transmissionD prices above the level that would have

prevailed absent the alleged misconduct." (Civ. No. 10-260, D.I. 232, ex. 1 at~~ 179-

90) Dr. Lamb then performed a second regression to measure the damages to direct

purchasers, calculating that as a result of pass-through, the direct purchaser class

suffered $398.4 million in damages during the class period. (Id. at mf 192-212) A third

regression of that data was utilized to calculate the damages allegedly passed on from

the direct purchaser dealers to end user indirect class members whereby Dr. Lamb

calculated 94.2% of the overcharges were passed on, resulting in $91,391,262 in

damages to the class. (D.I. 187 at ml 40-51)

                     b. Direct purchaser analysis



9 The court notes this analysis relies entirely on Dr. Lamb's report in the related direct
purchaser case, Wallach v. Eaton, Corp., Civ. No. 10-260. (D.I. 185 at 31) Dr. Lamb
additionally applied the same overcharge percentage calculated from his Eaton linehaul
regression in order to calculate the damages on Class 8 performance transmissions.
(Civ. No. 10-260, D.I. 232, ex. 1 at~ 189) As will be discussed in the next section, this
regression assumes a single uniform overcharge to all OEMs across all transmissions.
(Id. at~~ 179-90)
                                             19
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 22 of 29 PageID #: 9461




       As noted, plaintiffs are required to show there is common proof that Eaton

overcharged the individual class members who purchased Eaton transmissions

contained in Class 8 trucks during the Class Period. In support of this proposition,

plaintiffs rely entirely on Dr. Lamb's analysis, asserting that his model calculates the

overcharge to direct purchasers by analyzing "various data provided by the

Defendants." (D.I. 185 at 31) Defendants assert, and the court agrees, however, that

Dr. Lamb's model analyzes only a "small slice of data." (Civ. No. 10-260, D.I. 397 at

42:13-14) Dr. Lamb's report additionally assumes, rather than analyzes, several

important points. First, Dr. Lamb reached his conclusions by applying "the same

overcharge percentage calculated from [the] Eaton Linehaul regression to Eaton's sales

in order to calculate the damages on Class 8 Performance Transmissions." (Civ. No.

10-260, D.I. 232, ex. 1 at~ 189) In other words, Dr. Lamb ignored performance

transmissions, basing his conclusions solely on a portion of linehaul transmission

data. 10 Notably, defendants' expert, Dr. Johnson, concluded that performance

transmissions comprise "nearly half of Eaton's transmissions sold during the relevant

period." (Civ. No. 10-260, D.I. 299, ex. 1 at~ 20) By basing his analysis solely on

linehaul transmission data, Dr. Lamb has excluded half of the data he proffers as

common evidence that direct purchasers paid an overcharge. Moreover, Dr. Lamb's

model excludes data from Daimler and Freightliner, comprising "over 40 percent of the

line haul trucks in this case." (Id. at 42: 12-17) It appears, then, that Dr. Lamb's analysis



10Dr. Lamb argues this is appropriate because, but for Eaton's anti-competitive
conduct, "ZF Meritor would have entered the Class 8 performance Transmission
market." (Civ. No. 10-260, D.I. 232, ex. 1 at~ 189) This is debatable. As defendants
assert, "performance truck purchasers must prove at trial that ZF Meritor would have
entered the performance market." (D.I. 233 at 24)
                                             20
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 23 of 29 PageID #: 9462




is based on less than 60 percent of half of the data. As Dr. Johnson explained, "Dr.

Lamb failed to include (a) more than 19,000 transmissions with prices above $7000, (b)

all performance transmissions, (c) 47.1 % of manual transmissions, (d) 40.5% of Volvo-

Mack purchases, (e) 36.9% of Daimler purchases, (f) 33.0% of Navistar purchases, and

(g) 64.5% of PACCAR purchases." (D.I. 298 at 31; Civ. No. 10-260, D.I. 299, ex. 1 at~

22) When asked about the most persuasive component of his analysis, Dr. Lamb

testified that his analysis "is more credible because it's grounded in the facts of the

case." (Civ. No. 10-260, D.I. 397 at 42:13-14) In reality, Dr. Lamb's analysis utilizes

assumptions based on a modicum of data not fully representative of Eaton transmission

sales during the Class Period, in that he "used less than 55% of the relevant Eaton

transmission sales." (D.I. 298 at 31; Civ. No. 10-260, D.I. 299, ex. 1 at ex. 2) Dr.

Lamb's "compartmentalized view" of damages does not comprise common proof that

Eaton overcharged the direct purchasers. In re Intel, 2014 WL 6601941 at *17.

Plaintiffs have not met their burden in this regard. Because plaintiffs have failed to

demonstrate that there is common proof showing that direct purchasers paid an

overcharge, the indirect purchaser class cannot be certified. 11 Nevertheless, the court

will address the parties' arguments regarding pass-through.

              2. Pass-through analysis




11 The court also acknowledges that indirect purchasers may not have standing as
direct purchaser plaintiffs have since been dismissed on this issue. (Civ. No. 10-260,
D.I. 393 at 6; D.I. 394). However, the court declines to analyze at this juncture whether
indirect purchasers have standing since the issue has not been reasserted since the
court denied defendants' motion to dismiss in the instant case. (D.I. 60)


                                             21
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 24 of 29 PageID #: 9463




       Likewise, plaintiffs have failed to identify common evidence that any alleged

overcharges were passed on to the indirect purchasers. As discussed above, class

certification requires that plaintiffs show the alleged overcharges were passed on to end

purchasers in the form of higher prices to consumers. Defendants assert that the

complexity of truck pricing and the indirect purchaser distribution chain make it

impossible to identify, much less prove, class-wide injury through common proof. (D.l.

233 at 15) Defendants also assert plaintiffs' reliance on Dr. Lamb's pass-through

regression is similarly flawed to his overcharge analysis. (Id.)

                     a. Truck pricing and the transmission distribution chain

       As discussed above, this litigation primarily concerns plaintiffs' allegation that

they had to pay higher prices for transmissions and, in turn, for Class 8 trucks as a

result of defendants' anti-competitive conduct. Transmissions, of course, comprise only

a part of a Class 8 truck transaction. While the Class 8 trucks here have identical

transmissions, each truck is unique and highly customized for use in different

applications, meaning manufacturing costs for each truck varies by tens of thousands of

dollars. (Id. at 6) Moreover, some companies do not simply sell Class 8 trucks, but

mount a "significant body," such as a concrete boom, cement mixer, tanker, or refuse

loader for a garbage truck. (Id. at 18) Those companies then sell a complete package,

truck and body together. Determining what portion of the alleged overcharge was

passed on to a transmission cannot be determined simply by the overall purchase price

of the truck. This is particularly true with respect to "significant bodies," as these

components have their own costs, at times more costly than the truck itself. (Id. at 7)

Additionally, as Dr. Johnson explained, "[t]here are multiple possible intermediaries



                                              22
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 25 of 29 PageID #: 9464




between the OEMs and indirect purchasers of Class 8 trucks, such as dealers, body

builders, and other resellers, which yields a number of possible distribution chains."

(0.1. 234, ex. 1 at~ 19) As defendants assert, the proposed IPP class includes leasing

companies as well as resellers, potentially resulting in transmissions that have been

sold and then resold with no methodology to account for this occurrence. (0.1. 233 at 6)

Overall, the complex distribution chain frustrates the process of determining the amount

of pass-through on a transmission based on the price of a truck, and "[t)here has been

no effort to correlate transmission ... cost to truck price." (Civ. No. 10-260, 0.1. 397 at

311 :7-9)

         Plaintiffs' allegation of anti-competitive conduct involves Eaton's entry into LTAs

in the early 2000s with each of the OEMs. While these LTAs were separately

negotiated and distinct, each contained sizable and lucrative rebates from Eaton,

operating under the assumption that the OEM would utilize a certain percentage of

Eaton transmissions annually. These rebates, among other beneficial terms, also

present a significant problem for plaintiffs trying to prove, through common evidence,

that the alleged overcharges were passed on. 12 In fact, plaintiffs acknowledge that

"[t]ruck dealers and fleet purchasers ... sometimes receive special incentives called

'SPIFFs' ... , which effectively reduce the net price." (Civ. No. 10-260, 0.1. 232, ex. 1 at

~    159) (emphasis added) These rebates complicate the damages issue not only

because the rebates benefitted some members of the class through price reduction, but

also in terms of individualized transactions and the inability to account for them through



12According to defendants, "[c]omponent manufacturers give extended warranties,
additional product support, and monetary rebates (SPIFFs) to certain customers,
typically large fleets, if the customers will spec their component." (0.1. 233 at 15)
                                              23
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 26 of 29 PageID #: 9465




common proof. 13 See In re Intel, 2014 WL 6601941, at *14; In re Photochromic Lens,

2014 WL 1338605 at *11) ("[A] class cannot be certified when some members of the

class benefitted from the alleged wrongful conduct.")).

       As to reduction in Class 8 truck pricing in exchange for choosing an Eaton

transmission, defendants assert that not all reductions in truck pricing can be reflected

on an invoice. (0.1. 233 at 16) For example, a dealer may increase trade-in value, offer

preferred buy-back terms, or provide special financing. (Id.) More importantly,

defendants provided the following examples where the benefits received exceeded the

alleged overcharge:

       Cordes, Inc. (Michigan) received a special financing rate from PACCAR in
       conjunction with one new Class 8 truck purchase. More specifically, Mr.
       Cordes testified that another customer originally ordered the truck and no
       longer wanted it, and "they gave me a cheap financing rate on it, because
       they wanted to dump it. So I can borrow it cheaper than I can borrow
       money at the bank."

       Rodney Jaeger's (Wisconsin) sole new Class 8 truck purchase during the
       Class Period involved a complicated trade-in transaction including both a
       used Class 8 truck that he owned and a used Class 8 truck owned by a
       third party. Mr. Jaeger also purchased the truck under a special sales
       program that granted a $3,500 discount provided certain components
       were selected, including an Eaton transmission.

       Meunier Enterprises LLC (Florida and North Carolina) typically traded in
       used trucks in conjunction with new truck purchases and shopped dealers
       and brands based on who offered the best trade-in values.

       Phillip Nix (Kansas) traded in a used truck in conjunction with all of his
       truck purchases and aggressively negotiated the trade-in values he
       received. In one case the trade-in value made up nearly 75% of the price
       of the new truck.




13
  These rebates also present a fundamental intra-class conflict that defeat the
adequacy requirement as discussed above.
                                            24
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 27 of 29 PageID #: 9466




       Paul Prosper (Vermont) traded in a used truck in conjunction with Prosper
       Trucking, lnc.'s only relevant truck purchase. Prosper also financed the
       purchase through Daimler Trucks' captive finance company.

       Purdy Brothers Trucking Co., Inc. (Tennessee) negotiated trade-back
       terms, meaning that Purdy received a guaranteed future trade-in value on
       its new truck purchase. Purdy also sold trucks back to Freightliner via a
       fleet reduction program and financed certain truck purchases through
       Daimler Trucks' captive finance company.

       Ryan Avenarius (Iowa) did not negotiate the price of his sole purchase
       during the Class Period. After providing the dealer with his preferred
       specifications, he simply paid the dealer's first quoted price.

(D.I. 233 at 16-17)14 Given that eight of the 11 proposed state classes contain

examples of unique sales incentives as described above, the court is unpersuaded that

plaintiffs can package the evidence such that an individualized inquiry into each

transaction is unnecessary. In other words, plaintiffs' claims may not "be proven with

evidence common to the class because it fails to account for many of the real-world

facts surrounding this complicated market." In re Intel, 2014 WL 6601941, at *15.

Because plaintiffs have failed to show that common evidence can prove antitrust impact

in this complicated truck pricing market without individualized inquiries, class

certification is not proper. Hydrogen Peroxide, 552 F.3d at 311-12.

                     b. Dr. Lamb's pass-through analysis

       Dr. Lamb's pass-through analysis likewise fails to proffer common proof that the

indirect purchasers paid any overcharge. In order to show antitrust impact on the

indirect purchasers, class certification requires plaintiffs to "show that the [alleged]



14 (Citing D.I. 234, ex 23 at 119:20-121:14; ex. 20 at 65:19-67:2, 43:21-48:12; ex. 41 at
PACCAR091994; ex. 26 at 52:9-54:19; ex. 27 at 54:11-55:2, 84:3-16, 99:6-100:2; ex. 38
at ex. B (reflecting negotiated trade-in value of $80,000 applied to base purchase price
of $107,908); ex. 40 at 56:21-57:16, 44:13-19; ex. 25 at 30:11-32:18, 29:19-30:10, 45:3-
45:21; ex. 39 at 29:1-10)
                                              25
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 28 of 29 PageID #: 9467




overcharges are passed on to end purchasers in the form of higher prices to

consumers." In re Intel, 2014 WL 6601941, at *18. Dr. Lamb calculated that 94.2% of

the alleged overcharges were passed-through to indirect purchasers by averaging a

fractional amount of data. (D.I. 185 at 31; D.I. 233 at 21) As Dr. Johnson asserts, Dr.

Lamb only analyzed 1,833 out of 235,868 truck sales during the relevant Class Period.

(D.I. 234, ex. 1 at~ 32) Dr. Lamb then applied the rate attained from that regression

across the entire proposed IPP class, "based on the assumption that the pass-through

rate for the transmission alone is the same as that for the entire truck." (Id.   at~   37)

This amounts to an analysis utilizing less than one percent of the relevant truck sale

data and fails to account for transmission price in the sale of a truck as a whole. In no

way does an analysis of one percent compel the conclusion that plaintiffs can proffer

sufficient common evidence to prove the alleged overcharges were passed through to

indirect purchasers. Dr. Lamb's analysis merely includes data from two dealers in

California, thereby excluding ten of the 11 states for which plaintiffs seek class

certification. (D.I. 233 at 21) Dr. Lamb further fails to account for additional factors that

can affect the relationship between transmission and truck price as discussed above.

As the Supreme Court noted in Comcast, "[t]here is no question that the model failed to

measure damages resulting from the particular antitrust injury on which [defendants']

liability in this action is premised." Comcast, - U.S.-, 133 S. Ct. at 1433. For the

reasons discussed above, the court finds plaintiffs have not met their burden to prove

that common issues predominate. The court, therefore, declines to grant class

certification.

                 4. Superiority



                                             26
Case 1:11-cv-00009-ER Document 327 Filed 10/21/15 Page 29 of 29 PageID #: 9468




      The superiority requirement asks the court to balance, in terms of fairness and

efficiency, the merits of a class action against those of alternative available methods of

adjudication. In re Prudential, 148 F.3d at 316. Given the court's findings regarding

adequacy of class representatives and plaintiffs' failure to show that common issues

predominate, class certification under Rule 23(b)(3) would be inappropriate. Hence, the

court declines to address this requirement.

V. CONCLUSION

       For the reasons stated above, plaintiffs' class certification motion will be denied.

Moreover, because the proposed class lacks representation, the case does not present

a case or controversy under Article Ill. See In re Prudential Ins. Co. Am. Sales Practice

Litig. Agent Actions, 148 F .3d 283, 306 (3d Cir. 1998) (holding that "whether an action

presents a 'case or controversy' under Article Ill is determined vis-a-vis the named

parties"). Accordingly, the case is dismissed. An order shall issue.




                                              27
